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                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF OKLAHOMA

RICHARD GLOSSIP, et al.,                )
                                        )
      Plaintiffs,                       )
                                        )
             vs.                        )            Case No. CIV-14-665-F
                                        )
RANDY CHANDLER, et al.,                 )
                                        )
      Defendants.                       )

    PLAINTIFFS’ MOTION TO COMPEL PRODUCTION OF
  MATERIALS CONCERNING THE EXECUTIONS OF BIGLER
   STOUFFER, DONALD GRANT, AND GILBERT POSTELLE

      Pursuant to Federal Rule of Civil Procedure 37, Plaintiffs move for an order

compelling Defendants to produce all relevant documents and things concerning the

executions of Bigler Stouffer, Donald Grant, and Gilbert Postelle (should Mr.

Postelle’s scheduled execution go forward).1

                                 BACKGROUND

      On October 23, 2021, Plaintiffs filed an Emergency Motion to Preserve

Evidence of the Execution of John Marion Grant, who was scheduled to be (and


      1
        Pursuant to Rule 37.1 of the Local Rules for the Western District of Oklahoma,
the undersigned counsel certifies that counsel for moving Plaintiffs have diligently
attempted to resolve these issues through a meet and confer with counsel for Defendants
and have been unable to do so. When we notified Defendants of our intent to file this
motion, they stated that they will endeavor to make a production concerning Donald Grant
today, but declined to produce other documents and things sought herein. The extent of
any Donald Grant production is thus unknown. Defendants file this motion now given the
immediacy of the trial.
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was) executed on October 28, 2021. (See Doc. 525). On October 27, 2021, this Court

granted Plaintiffs’ motion, and ordered Defendants to “preserve evidence from the

execution of any Plaintiff, should it proceed[.]” (Doc. 541). That Order required

Defendants to preserve, among other things, “all documents and other material

related to the executions and execution proceedings, including but not limited to

[specified documents and things]” as well as “all other documents or other material

not identified here, in whatever form those documents or materials exist, related to

the executions and execution proceedings.” (Id. at 2-4) (footnotes omitted).

       Following the October 28, 2021 execution of John Grant, Plaintiffs requested

that Defendants produce documents and things relating to the John Grant execution

that were subject to the Court’s preservation Order, and Defendants later produced

certain documents.2 On December 9, 2021, the State of Oklahoma executed Bigler

Stouffer, and on January 27, 2022, executed Donald Grant. Each execution was

conducted using the three-drug execution protocol that is the subject of this

litigation.

       On December 10, 2021, Plaintiffs requested “the same production of

documents and things preserved by court order as requested in connection with the

[John] Grant execution” concerning the execution of Bigler Stouffer. Ex. 1



       2
       This Motion does not concern documents and things relating to the execution of
John Grant.
                                         2
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(12/10/2021 E-mail from J. Stronski to M. Mansinghani). On December 14, 2021,

Plaintiffs followed up on their request, and informed Defendants that there remained

important documents subject to the Court’s Preservation Order that were relevant to

the then-upcoming preliminary injunction hearing and trial that should be produced

immediately. Ex. 2 (12/14/2021 E-mail from J. Stronski to M. Mansinghani).

Plaintiffs further “reserve[d] all remedies to the extent they are not produced or not

produced on a schedule that allows their use in connection with the schedules in

place for the preliminary injunction [hearing] and the trial.” (Id.).

      On January 31, 2022, Plaintiffs’ counsel again informed Defendants’ counsel

that documents remained outstanding that Plaintiffs needed to consider in advance

of trial, including as trial exhibits. Ex. 3 (1/31/2022 E-mail from J. Stronski to M.

Mansinghani). Plaintiffs further specified that Defendants should produce:

      1.      The Medical Examiner Report, Toxicology Report, and Medical

Examiner photographs from the execution of Bigler Stouffer;

      2.      The Medical Examiner Report, Toxicology Report, Medical Examiner

photographs, Execution Logs, and all other documents from the execution of Donald

Grant (i.e. 35-Day Packet, medical records, after-execution review, documents, etc.);

and

      3.      The Medical Examiner Report, Toxicology Report, Medical Examiner

photographs, Execution Logs, and all other documents from the execution of Gilbert


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Postelle, if it goes forward (i.e. 35-Day Packet, medical records, after-execution

review, documents, etc.).

(Id.) EKG/pulse oximeter strips are included among Plaintiffs’ requests for all

documents above.

       Having received no response to their January 31, 2022 e-mail, Plaintiffs

followed up on February 7, 2022, and requested production of the requested

materials by close of business on February 11, 2022. Ex. 4 at 2 (02/07/2022 E-mail

from K. Walker to M. Mansinghani). On February 8, 2022, Defendants responded

that they would “endeavor to produce records from the Donald Grant execution by

February 11.” Ex. 4 at 1 (02/08/2022 E-mail from M. Mansinghani to K. Walker).

As of the time of this filing, Defendants have not produced the requested items from

the Donald Grant3 or Bigler Stouffer executions. However, Defendants stated that

they could not “expect to have possession of [materials from the Office of the

Medical Examiner and the laboratory generating the toxicology report] by February

11” concerning the Bigler Stouffer and Donald Grant executions and therefore

would not agree to produce such documents by then. (Id.).4 Defendants further



       3
        At 4:00 p.m., 2,984 pages of documents related to the Donald Grant execution were
provided to Plaintiffs. An initial review indicates that no documents from the medical
examiner including an autopsy report, toxicology report, and medical examiner
photographs were part of the production.
      4
        Although Bigler Stouffer was not a plaintiff in this case, documents and things
concerning his execution are indisputably germane to the issues in this action. Mr. Stouffer
was executed using the exact same protocol as John Grant and Donald Grant, and evidence
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declined to produce records from the execution of Gilbert Postelle, if it goes forward.

Ex. 4 at 1 (Id.). Defendants provided the caveat that they could not produce such

records by February 11, 2022, as Mr. Postelle is scheduled to be executed on

February 17, 2022, but Defendants did not otherwise agree to produce any materials

from Mr. Postelle’s execution, if it goes forward.5

                                    ARGUMENT

      A.     Documents and Things Subject to the Court’s Preservation Order
             Are Critical to Plaintiffs’ Claims and Should Be Produced Without
             Delay.
      All documents and things concerning the recent executions of Bigler Stouffer

and Donald Grant (and Gilbert Postelle if he is executed) are critical to the upcoming

trial in this case. As this Court itself noted in its August 11, 2021 Order granting in

part and denying in part Defendants’ Motion for Summary Judgment:

      the parties would be well advised to be prepared, at trial, to present
      evidence as to the actual track record of midazolam as used in
      executions over the last few years. That evidence may go far to
      eliminate speculation as to whether midazolam does or does not
      perform as intended when used as specified in the protocol. . . [and]




concerning his execution is thus equally relevant and important to resolve the important
issues to be addressed during the trial in this case. Defendants agree; the only issue is
timing.
       5
         Plaintiffs’ request for production of documents and things from the execution of
Gilbert Postelle, if it goes forward, was obviously not a request for production of those
documents and things before the execution takes place.
                                           5
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       there may well be a track record under Chart D of the new Oklahoma
       protocol by the time this case is called for trial[.]

(Doc. 449 at 15-16 n.13). Justice requires that Plaintiffs have access to these

materials in advance of trial and with sufficient time to review them and prepare for

their use as evidence at trial.

       The Court further recognized that “it is possible that, by the time the trial date

arrives, Oklahoma will have had experience with one or more executions under

Chart D. In that event, the court will entertain motions to amend the final witness

and exhibit lists.” (Doc. 456 at 2 n.2). And, in granting Plaintiffs’ emergency motion

to preserve evidence, the Court found good cause to order the preservation of

documents and things “in whatever form those documents or materials exist, related

to the executions and execution proceedings” from the execution of any Plaintiff.

(Doc. 541 at 4).

       In all, the Court’s prior decisions emphasize the critical nature of evidence

concerning Oklahoma’s recent executions and specifically contemplate the

presentation of such evidence at trial. To allow Plaintiffs the opportunity to do so,

the Court should order Defendants to produce without delay all outstanding

documents and things concerning Oklahoma’s recent executions (and to




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immediately produce such documents and things relating to the execution of Mr.

Postelle after the execution has occurred).

         The documents and things Plaintiffs have requested concerning these

executions (and for which Defendants have already been ordered to preserve) will

be critical evidence at trial that will aid this Court’s evaluation of the

constitutionality of the Oklahoma Execution Protocol. Their relevance and

importance can hardly be disputed. As discussed above, the Court has already

recognized their critical nature, and advised the parties that they should present

evidence at trial concerning the “actual track record of midazolam as used in

executions over the last few years.” (Doc. 449 at 15 n.13). Materials concerning the

Bigler Stouffer and Donald Grant executions (and Gilbert Postelle, if executed) are

directly related to that track record and may, in fact, be the evidence most pertinent

to it.

         Defendants have not even disputed the relevance and importance of these

materials. To the contrary, they recognized it and produced, for example, the

Medical Examiner Report from the execution of John Grant. (Ex. 4 at 1) (“As you

know, we provided you with the Medical Examiner Report for John Grant the same

day it was signed and the same day we received it[.]”). The Medical Examiner

Report for Bigler Stouffer and Donald Grant are equally as important trial evidence

as that of the report concerning John Grant. So too are the toxicology reports,


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medical examiner photographs, and other documents and things subject to the

preservation Order and requested by Plaintiffs.

      Among other things, these materials will provide evidence as to whether, and

to what extent, Mr. Stouffer and Mr. Grant suffered pulmonary edema during their

executions, as well as whether pulmonary edema occurred after the administration

of midazolam but prior to administration of the paralytic. These are important facts

that go to the heart of Plaintiffs’ claims that the Oklahoma Execution Protocol will

subject them to a substantial risk of serious harm in violation of the Eighth

Amendment by, inter alia, subjecting them to the pain associated with pulmonary

edema. And they are squarely subject to this Court’s preservation Order. (Doc. 541

at 2) (requiring preservation of “[p]hotograph and document evidence related to

pulmonary edema and the intravenous lines: including lung weight; perform a

thorough examination of and document any fluid present in the lungs, large or small

airways, or mouth or nose[.]”).

      It is critical that Plaintiffs have access to these materials sufficiently in

advance of trial, in order to make their evidentiary presentation and examine all

relevant witnesses. Otherwise, Plaintiffs’ ability to present their case will be severely

prejudiced. While Defendants have not outright refused to produce the materials at

all, the delay and proximity to the upcoming February 28, 2022 trial necessitates

court intervention now. Defendants have taken the position that they “have no


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control” over materials generated by the Office of the Medical Examiner and

laboratory generating the toxicology report. (See Ex. 4 at 1) (02/08/2022 E-mail from

M. Mansinghani to K. Walker). While that contention is dubious, it is in any event

unavailing when this Court has specifically ordered Defendants to preserve all

documents and materials related to the executions, including “photograph and

document evidence related to pulmonary edema . . . lung weight . . . examination of

and document any fluid present in the lungs, large or small airways, or mouth or

nose[.]” (Doc. 541 at 2). Clearly, evidence of lung weight and fluid present in the

lungs, mouth, or nose of executed individuals would come from a medical

examiner’s examination. And Plaintiffs’ motion to preserve evidence specifically

related to anyone acting on behalf of the Oklahoma Department of Corrections,

including “the Pittsburg County Medical Examiner and Coroner or any other

Medical Examiner or Coroner, involved in the post-execution autopsy of John

Marion Grant.” (Doc. 525 at 1).6 Defendants’ position that they have asked the

Office of Medical Examiner for the materials “when available,” without taking any




      6
        As discussed above, the Court’s Order granting Plaintiffs’ emergency motion to
preserve evidence was not limited to the execution of John Grant, but applied to the
execution of any Plaintiff.
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further action, is simply not good enough under these circumstances, with trial now

just over two weeks away.

      The preservation Order requires Defendants to preserve these materials and,

if the Order is to have any effect, it must be interpreted to require such preservation

in time for the evidence to be meaningfully available for use at trial. Defendants’

claim that it “has only been two months since Stouffer’s execution and two weeks

since Donald Grant’s execution” is unavailing. (See Ex. 4 at 1) (02/08/2022 E-mail

from M. Mansinghani to K. Walker). Surely two months is sufficient time for

Defendants to have taken the steps necessary to produce critically important

materials for a trial that is imminent, and, in any event, this Court’s prior rulings

necessitate the prompt production of all materials Plaintiffs have requested.

       Accordingly, this Court should order Defendants to take all steps necessary

to produce all relevant materials concerning the executions of Bigler Stouffer and

Donald Grant without delay, and further order Defendants to take all steps necessary

to produce all relevant materials from the execution of Gilbert Postelle as soon as

possible before trial, should his execution proceed on February 17, 2022.

                                  CONCLUSION

     For the reasons set forth above, Plaintiffs respectfully request that the Court

issue an order compelling Defendants to expeditiously produce all outstanding

documents concerning the executions of Bigler Stouffer, Donald Grant, and Gilbert


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Postelle (should his execution go forward), including, but not limited to, medical

examiner reports, toxicology reports, medical examiner photographs, execution

logs, EKG/pulse oximeter strips and all other documents that relate to these

executions.



Dated: February 11, 2022       Respectfully submitted,


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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of February, 2022, I electronically transmitted

the attached document to the Clerk of Court using the ECF System for filing and transmittal

of Notice of Electronic Filing to all counsel of record who are registered participants of the

Electronic Case Filing System.


                                    s/ Emma V. Rolls___________




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